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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF PENNSYLVANIA


A.F., a minor, by and through his father.
                               )
ANTONIO FULTZ,                 )                   Civ. No. 2:21-CV-1051
                               )
    Plaintiff,                 )                   Judge William Stickman, IV
                               )
            vs.                )
                               )
AMBRIDGE AREA SCHOOL DISTRICT, )
                               )
    Defendant.                 )

    PLAINTIFF’S UNOPPOSED PETITION FOR SETTLEMENT APPROVIAL
                      PURSUANT TO LCvR 17.1


       AND NOW comes the Plaintiff, by and through his trial attorney, Erik M.

Yurkovich, Esq., who files this Petition for Settlement Approval, pursuant to Local Civil

Rule 17.1 based upon the following.

       1.     Plaintiff A.F. is a minor.

       2.     Antonio Fultz is his father and guardian.

       3.     This action involved allegations of that Plaintiff, a high school student,

suffered disparate treatment from Ambridge Area High School because of his race

(black) when he was suspended from the Ambridge High School Football Team.

       4.      Plaintiff has suffered no physical, economic or property damages.

       5.     The parties have reached a settlement as follows.

       6.     Plaintiff is eligible to compete to return to the Ambridge Highschool

Football Team for the 2022-2023 season, subject to any and all eligibility/qualification
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requirements which are applicable to any other student of the Ambridge Area School

District.

         7.    Defendant has agreed to pay the sum of $1,000.00 to Plaintiff, via his

father (subject to final approval of the settlement by a vote of a majority of Directors of

the Ambridge Area School District School Board), in exchange for Plaintiffs’ execution

of a full and final settlement agreement and release, and Plaintiff’s filing of a Stipulation

for Discontinuance with prejudice.

         8.    Defendant agrees to pay Plaintiff’s counsel the federal court filing fee of

$400.

         9.    The parties wish to avoid new litigation costs.

         10.   This petition is unopposed.

         11.   It is agreed that this settlement is in the best interest of the parties.

        WHEREFORE Plaintiff respectfully requests that this Petition be approved.



                                                Respectfully submitted,




                                                ERIK M. YURKOVICH, ESQ.
                                                Attorney at Law
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                        CERTIFICATE OF SERVICE

      I, Erik Yurkovich, certify that a true and correct copy of this Petition was

sent to the defense counsel below on March 21, 2022 via email and the Court’s ECF

system.
                             Joseph W. Cavrich, Esq.
                              Andrews & Price LLC
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                              Pittsburgh, PA 15221
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                                               /s/Erik Yurkovich
                                               Erik Yurkovich, Esq.




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